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               In the United States Court of Federal Claims

  Nos. 18-204C, 18-206C, 18-207C, 18-208C, 18-211C, 18-214C, 18-216C, 18-220C,
    18-229C, 18-238C, 18-239C, 18-245C, 18-246C, 18-248C, 18-251C, 18-252C,
                      18-261C, 18-275C, 18-328C, 18-498C
                                        (consolidated)


FMS INVESTMENT CORP,
ET AL.
          Plaintiffs

         v.

THE UNITED STATES                                      JUDGMENT
          Defendant

         and

PERFORMANT RECOVERY,
INC., ET AL.


       Pursuant to the court’s Order, filed May 25, 2018, granting defendant’s motion to
dismiss,

      IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that plaintiffs’
complaints are dismissed, without prejudice. No costs.



                                                   Lisa L. Reyes
                                                   Clerk of Court

May 25, 2018                                By:    s/ Debra L. Samler

                                                   Deputy Clerk


NOTE: As to appeal, 60 days from this date, see RCFC 58.1, re number of copies and listing of
all plaintiffs. Filing fee is $505.00.
